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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                        Case No. 14-20119
          Plaintiff,
                                                        Honorable Nancy G. Edmunds
 v.

 D-1 RAMIAH JEFFERSON,
 D-3 EVAN JOHNSON,
 D-4 MARIO GARNES,

          Defendants.
                                           /


       OPINION AND ORDER DENYING DEFENDANTS’ RULE 29 MOTIONS FOR
      ACQUITTAL AND RULE 33 MOTIONS FOR A NEW TRIAL [380, 382, 383] AND
                              JOINDER [393]

       After nearly a month long trial, Defendants Ramiah Jefferson, Evan Johnson, and

 Mario Garnes ("Defendants") were found guilty of racketeering conspiracy in violation of

 18 U.S.C. § 1962(d) for their participation in an enterprise known as the "Bounty Hunter

 Bloods". The jury further found that Jefferson and Johnson intended at least one other

 RICO conspirator to commit the racketeering act of robbery, thus increasing their maximum

 potential sentence from 20 years to life in prison. 18. U.S.C. § 1963(a). Finally, Jefferson

 and Johnson were also convicted of possessing a firearm in furtherance of a crime of

 violence under 18 U.S.C. § 924(c).

       Currently before the Court are various post-trial motions filed by Defendants seeking

 either acquittal or a new trial under Federal Rules of Criminal Procedure 29 and 33. More

 specifically, Jefferson argues that (1) the RICO statute is unconstitutional as applied to him

 because the Government failed to establish a pattern of racketeering activity, (2) "there was
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 no testimony from any witness . . . that [he] was involved in or conspired to commit any

 robberies . . . . " (Jefferson Br. 20), and (3) the jury instructions improperly defined the

 robbery enhancement under 18 U.S.C. § 1963(a). (Dkt. 380). Johnson, for his part, while

 joining in Jefferson's motion (Dkt. 393), takes a slightly different approach to challenging

 the sufficiency of the evidence, maintaining that the Government failed to specifically tie the

 racketeering acts to the Bounty Hunter enterprise. (Dkt. 383). Finally, Garnes likewise

 asserts that the evidence presented at trial was insufficient to sustain his conviction of

 RICO conspiracy. (Dkt. 382).

              The Court held a hearing on this motion on January 20, 2016. For the reasons stated

 below, Defendants' motions are DENIED.

 I.           BACKGROUND

              The Bounty Hunter Bloods–also known as the Bounty Hunter Gang, BHB, and the

 Hunnas–were a neighborhood street gang operating primarily on the northwest side of

 Detroit, Michigan.1 Bounty Hunter Members identified themselves through the use of hand

 gestures, tattoos, graffiti, and wearing the colors red, green, and tan.2 The gang was

 formally organized through a set of written by-laws which all members were expected to

 learn and follow. Entrance to the Bounty Hunters was gained through one of three initiation

 processes: a new member could be "blessed-in", "blood-in", or "sexed-in." With respect

 to the "blood-in" process–seemingly the most common way to be initiated–the recruit was


          1
      According to the Government's confidential informant, the Bounty Hunters' territory
 stretched from Eight Mile Road to Schoolcraft north to south, and Telgraph Road to
 Livernois east to west. (Trial Tr. Vol. 4 at 113).
      2
     In 2010, the Bounty Hunters are alleged to have abandoned this color scheme in favor
 of black and red.

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 required to fight several members of the gang with one arm secured by a bandana to his

 or her pants. If the recruit withstood the beating without losing the bandana, they were

 admitted to the membership ranks.

         The by-laws also established a hierarchy of command for the gang. Generally

 speaking, the power structure–top to bottom–was defined as follows: Young Original

 General, Young General, Capo (designated first, second, or third), Lieutenant, and Solider.

 One's rank in the Bounty Hunters necessarily informed their role within the organization.

 Young Generals, for example, directed the gang's criminal endeavors, allocated "pot

 money",3 distributed weapons, and provided the "green light" to members performing acts

 of violence. Lieutenants and Soldiers, on the other hand, were the boots on the ground

 responsible for recruiting new members, generating pot money, "tagging" graffiti in the

 gang's operating area, and "putting in work." Bounty Hunter members who contributed

 money to the organization and carried out the criminal directives of their superiors were

 eligible for a promotion in rank. Those who failed to live up to the expectations of

 leadership were subject to discipline in the form of beatings by other members.

         On a micro level, the Bounty Hunters were further divided into smaller subsets or

 "lines" to consolidate the gang's power within certain neighborhoods. The "Seven Mile

 Line", for example, was made up of around 15 Bounty Hunter members who identified–for

 one reason or another–with that area of the gang's turf. These lines would hold their own



     3
        "Pot money" refers to funds generated by Bounty Hunter members from criminal
 activity. See (Trial Tr. Vol. 10 at 42) (Q. "With respect to the collection of pot money, was
 it common knowledge within the Bounty Hunters that pot money came from criminal
 activity? A. Yes.")


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 meetings, collect pot money, retaliate against rival factions operating within their territory,

 and communicate with the gang's top leadership on a regular basis.

       On March 5, 2014, a grand jury indicted nine individuals in connection with their

 participation in the Bounty Hunter enterprise. With the exception of Jefferson, Johnson,

 and Garnes, all Defendants reached a plea agreement with the Government. At trial, the

 evidence established that Jefferson and Johnson served as the Bounty Hunters' chief

 executives, while Garnes managed the gang's drug trafficking activities. While the specific

 role of each Defendant is explored more fully below, the Government presented a plethora

 of evidence linking the Bounty Hunters to a vast and violent array of criminal conduct

 including murder, robbery, drug distribution, and weapons possession. As a number of

 witnesses testified, much of this violence was directed towards innocent members of the

 community having no affiliation with the gang or its rivals. Ultimately, the jury found all

 three Defendants guilty of RICO conspiracy, and further concluded that Jefferson and

 Johnson possessed a firearm in furtherance of a crime of violence. Against this backdrop,

 the Court endeavors to address Defendants' legal and evidentiary challenges to the jury's

 verdict.

 II.   Rule 29 Motions for Acquittal

       At the close of the Government’s case, Defendants jointly moved for a judgment of

 acquittal. (Dkt. 358). The Court denied Defendants’ motion, finding sufficient evidence in

 the record to submit the charges in the challenged counts to the jury. (Mot. J. Acquittal Hr’g

 Tr. Vol. 17 at 19-23). The trial continued to a jury verdict of guilt as to each Defendant on

 the charges described above. Defendants’ renewed Rule 29 motions are, to some extent,

 a refined version of their previous arguments. The Court incorporates by reference its prior

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 findings and conclusions set forth on the record, and rejects any challenges not specifically

 raised–and developed–in Defendants’ post-trial motions for the reasons previously stated.

      A. Standard of Review

      “Evidence is sufficient to sustain a conviction if after viewing the evidence in the light

 most favorable to the prosecution, and after giving the government the benefit of all

 inferences that could reasonably be drawn from the testimony, any rational trier of fact

 could find the elements of the crime beyond a reasonable doubt.” United States v. Driver,

 535 F.3d 424, 428–29 (6th Cir. 2008) (internal quotation marks and citations omitted). “In

 examining claims of insufficient evidence, this court does not weigh the evidence

 presented, consider the credibility of witnesses, or substitute [its] judgment for that of the

 jury.” Id. (internal quotation marks and citation omitted). As the Sixth Circuit recently

 observed, “defendants bear a heavy burden when asserting insufficiency of the evidence

 arguments.” United States v. Wettstain, 618 F.3d 577, 583 (6th Cir. 2010). That is because

 “[c]ircumstantial evidence alone is sufficient to sustain a conviction and such evidence need

 not remove every reasonable hypothesis except that of guilt,” and “the uncorroborated

 testimony of an accomplice alone may support a conviction.” Id. (internal quotation marks

 and citations omitted).

      B. Analysis

          1. Individual Sufficiency of the Evidence Arguments

          The jury found Jefferson, Johnson, and Garnes guilty as charged in Count One

 of the Third Superseding Indictment (the “Indictment”) of racketeering conspiracy in

 violation of 18 U.S.C § 1962(d). Defendants have each lodged specific challenges to the



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 sufficiency of the evidence supporting their convictions under Count One, which the Court

 addresses here.

      As the Court instructed the jury, in order to convict the Defendants of racketeering

 conspiracy beyond a reasonable doubt, the Government was required to prove that: (1) the

 Bounty Hunters existed as an enterprise as described in the Indictment; (2) each Defendant

 was associated with the enterprise; (3) each Defendant knowingly agreed to participate in

 the conduct of the enterprise; (4) each Defendant and at least one other conspirator agreed

 that the Defendant or a conspirator would commit at least two acts of racketeering in

 furtherance of the enterprise; and (5) the activities of the enterprise affected interstate

 commerce. (Trial Tr. Vol. 18 at 16-19); see United States v. Fowler, 535 F.3d 408, 418 (6th

 Cir. 2008). With respect to the fourth prong, a RICO conspiracy charge does not require

 proof that the defendant "agreed to commit two predicate acts himself, or even that any

 overt acts have been committed. To the contrary, it merely requires proof that the

 defendant 'intended to further ‘an endeavor which, if completed, would satisfy all of the

 elements of a substantive [RICO] criminal offense [and] it suffices that he adopt the goal

 of furthering or facilitating the criminal endeavor.' " Id. at 421 (quoting Salinas v. United

 States, 522 U.S. 52, 65, 118 S.Ct. 469, 139 L.Ed.2d 352 (1997).

                a.    Defendant Ramiah Jefferson

      Ramiah Jefferson, also known as "Rio" or "Nightmare" to his Bounty Hunter

 associates, argues that he is entitled to a judgment of acquittal on Count One for two

 reasons: First, he maintains that, "[a]t trial, the prosecution relied on an overly expansive

 theory of the 'pattern of racketeering' element of RICO, an element that is inherently

 vague." (Jefferson Br. 14). In this way, Jefferson contends that, because the Government

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 failed to produce sufficient evidence that he engaged in a "pattern of racketeering"

 consistent with his understanding of that concept, the RICO statute is unconstitutional as

 applied. Next, Jefferson asserts that he must likewise be acquitted of the enhancement

 allegation related to Count One because there was insufficient evidence to establish that

 he "knowingly and intentionally conspired to commit any specific robbery or that he

 specifically intended to help such a crime." (Jefferson Br. 3).

      A "pattern of racketeering activity" requires a minimum of two predicate acts. See 18

 U.S.C. § 1961(5). "In order to establish that any two predicate acts constitute a pattern of

 racketeering activity, the Government must satisfy the 'continuity plus relationship' test,

 which requires proof of (1) a relationship between the predicate acts and (2) the threat of

 continued activity.' " United States v. Fowler, 535 F.3d 408, 419 (6th Cir. 2008) (quotations

 omitted). In considering the "continuity plus relationship" test, the Supreme Court has

 explained the government's burden this way:

        [T]he threat of continuity is sufficiently established where the predicates can
        be attributed to a defendant operating as part of a long-term association that
        exists for criminal purposes. Such associations include, but extend well
        beyond, those traditionally grouped under the phrase 'organized crime.'

 H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 242-43, 109 S.Ct. 2893, 106 L.Ed.2d

 195 (1989). As to relationship or relatedness, “[t]he business of a criminal enterprise is

 crime [and its] crimes form a pattern defined by the purposes of the enterprise." United

 States v. Corrado, 227 F.3d 543, 554 (6th Cir. 2000) (quotations omitted). Furthermore,

 the "predicate acts do not necessarily need to be directly interrelated; they must, however,

 be connected to the affairs and operations of the criminal enterprise." Id.




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        There is no question that Jefferson's participation in the Bounty Hunter enterprise

 supported the jury's finding that he engaged in a pattern of racketeering activity. From an

 organizational perspective, Jefferson occupied the role of "Original General"; the most

 powerful position in the Detroit Bounty Hunters. (Gov't Ex. 43J). In fact, according to

 evidence seized from his Facebook account, Jefferson claimed to be the "commander in

 chief", running "9 lines in 7 states." (Gov't Ex. RJ_FB_14). As several witnesses testified,

 Jefferson leveraged his power in support of the gang's criminal objectives in a number of

 ways. By requiring the payment of "pot money" at Bounty Hunter meetings, for example,

 Jefferson implicitly agreed to other members' drug-dealing and acts of violence. Indeed,

 as one former high-ranking member testified:

         Q. Now, as a young general did you understand that members were making
         their pot money using money they made from selling drugs?

         A. Yes.

         Q. Did you understand that other Bounty Hunter members paid their pot
         money using money that they made committing robberies

         A. Yes.

         Q. As a young general, did you understand that other Bounty Hunter
         members paid their pot money from the money they made committing home
         invasions?

         A. Yes.

 (Trial Tr. Vol. 10 at 26). As someone who personally collectedSand spentSpot money and

 awarded "rank" to members who "put in work",4 (Trial Tr. Vol. 10 at 17, 28), it was

 reasonable for the jury to infer that Jefferson, as the leader of the Bounty Hunters, "was


    4
     Putting in work included, among other things, narcotics distribution, home invasions,
 robberies, and shootings. (Trial Tr. Vol. 10 at 14, 18-19).

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 aware of and directing [] members' activities such that he was guilty of conspiring to violate

 RICO." United States v. Nagi, 541 F. App'x 556, 574 (6th Cir. 2013), vacated on other

 grounds, 134 S.Ct. 2288 (2015); see also United States v. Tocco, 200 F.3d 401, 426 (6th

 Cir. 2000) (rejecting the defendant's argument that "he had no knowledge of many of the

 acts committed by the others in the purported conspiracy" because "[t]he testimony

 confirmed the general nature of the enterprise, and that [he] knew that the enterprise

 extended beyond his [leadership] role therein.").

      While there is little doubt that Jefferson's leadership role was sufficient, on its own, to

 establish a "pattern of racketeering activity", there is, nonetheless, a plethora of evidence

 that he was directly involved in the gang's drug distribution efforts. Indeed, the ATF seized

 multiple marijuana plants and a digital scale from various places where he was known to

 reside. (Gov't Exs. 70F-I, 73 (physical exhibit)). Furthermore, text messages established

 that Jefferson engaged in drug transactions with Bounty Hunters Evan Johnson and Mario

 Garnes. See (Gov't Ex. EJ_Cell_23) ("[Jefferson]: Wattz up Bhro? [Johnson]: got tree?

 [Jefferson]: Lol I'm about to grab some bro. [Johnson]: I was tryna swoop somethin bfore

 I shot to the suburbs. [Jefferson]: Ok let me Kall my pops."); (Gov't Ex. MG_FB_18) ("I

 grabbed tha two bags tho and was gone bring u back ten."). And Jefferson's cell phone

 was chock full of images depicting marijuana being weighed on a digital scale and

 individually bagged for sale. (Gov't Exs. RJ_Cell_30-37). "In light of this evidence, and the

 additional evidence that [Jefferson] had engaged in [marijuana] transactions with at least

 one other [Bounty Hunter] member, it would be difficult to conclude that [Jefferson's] drug

 dealing was merely coincidental to his membership in the" gang. United States v. Fowler,

 535 F.3d 408, 420 (6th Cir. 2008) (concluding that "a rational jury could conclude beyond

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  a reasonable doubt that Fowler's drug dealing was related to the OMC criminal

  enterprise."). In sum, the "continuity plus relationship" test was easily satisfied here

  because the Government introduced sufficient evidence to convince a rational jury beyond

  a reasonable doubt that Jefferson's predicate acts were related to the activities of the

  enterprise.

       Jefferson's next argument, that there was insufficient evidence to support the

  enhancement allegation that he conspired to commit a robbery, fails for similar reasons.

  While it's true that there was "no testimony from any witness that establishes that Jefferson

  was [directly] involved in . . . any robberies . . . .", (Jefferson Br. 20), that is plainly not what

  the law requires. "To the contrary, [RICO conspiracy] merely requires proof that the

  defendant 'intended to further an endeavor which, if completed, would satisfy all of the

  elements of a substantive RICO criminal offense' and it suffices that he adopt the goal of

  furthering or facilitating the criminal endeavor." Fowler, 535 F.3d at 421 (emphasis added).

  As a high-ranking leader in the Bounty Hunters, Jefferson was responsible for awarding

  rank to members who "put in work." Several witnesses testified that "putting in work"

  included committing robberies to generate "pot money" for the enterprise. (Trial Tr. Vol. 10

  at 14). And, according to Drakkar Cunningham, the gang's leadership understood that

  members were committing those robberies to "increase their status in the gang." (Trial Tr.

  Vol. 10 at 18).

       Moreover, as the Government points out, Jefferson "frequently supplied guns to

  Jamare Rucker–a Bounty Hunter who regularly committed robberies, robbed a woman at

  gunpoint, and then murdered a security guard during a carjacking." (Gov. Resp. 7); (Trial

  Tr. Vol. 13 at 48-60) ("Q. And if you know, were the firearms given by Mr. Jefferson to Mr.

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  Rucker, were they loaded or unloaded . . . . A. Loaded. Q. Did you have an occasion where

  Mr. Rucker would return the firearm? A. Yes. Q. Did he return them loaded or unloaded?

  A. Unloaded."). Jefferson also agreed to put money in Shon Hargrove's prison account–

  a fellow Bounty Hunter who was incarcerated in connection with a robbery he committed

  in Oak Park, Michigan. (Gov't Ex. 151). Taken together, this evidence–considered in

  conjunction with Jefferson's leadership role–permitted the jury to infer that he adopted the

  goal of "furthering or facilitating" a robbery. See United States v. Thomas, 490 F. App'x

  514, *3, 5 (4th Cir. 2012) ("[o]ur review of the record reveals substantial evidence that the

  RICO [c]onspiracy included conspiracy to commit murder as an enterprise objective" where

  defendants were gang leaders with power to determine "when somebody need[ed] to die.").

       Finally, Jefferson lodges two general legal challenges to Count One, both of which can

  be summarily disposed of. First, he argues that the "combination of the inherent breadth

  of the RICO statute and vagueness of its elements, . . . has resulted in an application of the

  statute here which is unconstitutional." (Jefferson Br. 19). But "[e]very circuit which has

  addressed the void-for-vagueness issue following the Supreme Court's decision in H.J. Inc

  . . . has held that the RICO statute is not unconstitutionally vague." United States v. Keltner,

  147 F.3d 662, 667 (8th Cir. 1998) (citing cases). And, for the reasons discussed, the Court

  is far from convinced that the RICO statute is vague as applied. By Jefferson's own

  admission, he was the leader of a national gang with tentacles in at least seven states. In

  this capacity, he helped to expand the Bounty Hunters reach to new territory, provided

  firearms for members to conduct official business, and awarded rank to individuals who

  actively pursued the gang's criminal objectives. In this way, Jefferson's conduct falls



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  squarely within RICO's principal aim– the eradication of organized crime. See United

  States v. Chance, 306 F.3d 356, 395 (6th Cir. 2002) ("After all, Congress' purpose in

  enacting the RICO statutes was to eradicate organized crime.").

       As a last ditch appeal, Jefferson argues that the jury instructions failed to properly

  define the robbery enhancement because they did not require the "commission of a

  specified act involving robbery . . . . " (Jefferson Br. 9). In other words, Jefferson maintains

  that the jury should have been required to identify a specific robbery in support of the

  statutory enhancement. But that logic simply not does not comport with the plain language

  of RICO. Under 18 U.S.C. § 1963(a), the statutory maximum for a RICO conspiracy

  conviction increases from 20 years to life if the conspiracy "is based on a racketeering

  activity for which the maximum penalty includes life imprisonment." (emphasis added).

  Armed robbery is a "racketeering activity", 18 U.S.C. § 1961(1), which carries a maximum

  penalty of life imprisonment under Michigan law. Mich. Comp. Laws. § 750.529; see Allen

  v. United States, 45 F. App'x 402, 405 (6th Cir. 2002) ("18 U.S.C. § 1963(a) appears on its

  face to incorporate the state sentencing maximums for the “racketeering activities” to the

  extent that they carry a maximum punishment of life imprisonment.' "). Thus, in order to

  find Jefferson guilty of the statutory enhancement, the jury was required to find that his

  "racketeering activity" was "based on" robbery. And, as the Sixth Circuit has made clear,

  "the jury need not be unanimous as to the specific predicate acts that the defendant agreed

  someone would commit. [It] need only be unanimous as to the types of predicate acts that

  someone would commit." United States v. Wilson, 579 F. App'x 338, 347 (6th Cir. 2014).

       The jury instructions and verdict form satisfied RICO's substantive demands. With

  respect to the enhancement instructions, the Court stated, "if you find defendant Ramiah

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  Jefferson . . . guilty of the RICO conspiracy charge, you must specify whether he agreed

  and intended that at least one other conspirator would commit a racketeering act of

  robbery." (Trial Tr. Vol. 18 at 38). Likewise, the verdict form required the jury to find that

  Jefferson agreed and intended "that at least one other conspirator would commit a

  racketeering act of robbery[.]" (Verdict Form, Dkt. No. 367). Accordingly, there is no doubt

  that the jury concluded that Jefferson's "racketeering activity" was "based on" robbery.

  Jefferson fails to offer any authority in support of the proposition that the statutory

  enhancement requires anything more.5

         Accordingly, the Court must, and does DENY Jefferson's Rule 29 motion for acquittal.

                  b.    Defendant Evan Johnson

         Evan Johnson, also known as "Big Ev" or "Unkle Murda", was second in command

  under Jefferson. (Gov't Ex. 43J); (Gov't Ex. EJ_FB_6) ("My name Big Ev cka Unkle Murda.

  I'm OYG"). As a top-ranking leader, Johnson contributed to the success of the Bounty

  Hunter enterprise by overseeing the gang's rank and file. In this way, his "pattern of

  racketeering activity" very closely mirrored Jefferson's. Indeed, in addition to supporting

  the criminal objectives of his subordinates, Johnson was likewise actively involved in the

  gang's drug distribution efforts. In one Facebook exchange, Johnson offered to help

  someone obtain a "jar" of pills after that individual's "connect [] got locked up." (Gov't Ex.

  EJ_FB_30). Other messages showed him helping a fellow Bounty Hunter locate "dem

  trees" and "some gans". (Gov't Ex. EJ_FB_29). And, as previously discussed, on at least




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       The Court addresses Jefferson's Apprendi challenge to the statutory enhancement
  instruction under Rule 33.

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  one occasion Johnson arranged to obtain "tree" from Jefferson before heading out to the

  suburbs. (Gov't Ex. EJ_CELL_23).

       The evidence seized from Johnson's Facebook account demonstrates how closely his

  life was intertwined with the Bounty Hunter enterprise. In one message to Jefferson, he

  indicated that they "wuz 15 gkoin to war. Not fightin. Real gunplay. You gkotta earn dat y.g.

  Unk Muder said dat." (Gov't Ex. RJ_FB_13). In yet another message, Johnson warned a

  fellow member to "[t]ake all da BHB shit off ya pagke. we hot rite now. Da BHomies Killa

  J and Glock gkot locked up yestaday for a murda at the hunna house over there on

  sunderland." (Gov't Ex. EJ_FB_18). And these are hardly the only examples of Johnson's

  attempt to manage the gang's daily affairs. See (Gov't Ex. EJ_FB_6, 18, 19, 23, 27, 28).

  Johnson's leadership role significantly undermines his argument that "[t]here was

  insufficient proof that the specific crimes . . . [were] any more than random acts of violence

  committed by individuals who also happened to be involved with . . . . " the Bounty Hunters.

  (Johnson Br. 9-10).

       In fact, the evidence supporting Johnson's guilt on the robbery enhancement makes

  it clear that his racketeering activity was inseparable from the criminal enterprise. On

  October 9, 2009, Johnson informed another Bounty Hunter that he located "a handheld

  [gun] for dat lick [robbery]." (Gov't Ex. EJ_FB_23); (Trial Tr. Vol. 10 at 19-20) ("Q. Have you

  heard the terms "lick" or "hit a lick"? A. Yes. Q. What do those terms mean to you? A. Take

  something that's not yours, whether you rob somebody or break in."). The individual's

  response was clear– "nuff said[,] bring it to me big bro an i got anotha one to." (Id.). This

  evidence, in combination with Johnson's drug dealing, is stronger than other cases where

  the Sixth Circuit has found an association between the racketeering activity and the criminal

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  enterprise. As the court explained in United States v. Lawson, 535 F.3d 434, 445 (6th Cir.

  2008):

           Lawson contends that his drug dealing was not connected to the OMC and
           therefore is not evidence of an agreement to be part of the OMC
           drug-distribution ring. This argument is contradicted by evidence showing that
           he supplied drugs to fellow OMC members, and by the evidence that he did
           so with the knowledge that the drugs would be resold to the general public.
           Thus, one can infer that he had entered into an agreement with other OMC
           members to violate RICO by operating a drug ring.

  As such, the Court is persuaded that a reasonable jury could infer from the evidence–as

  well as Johnson's leadership position–that his pattern of racketeering activity was carried

  out in furtherance of the Bounty Hunter enterprise.6 The Court thus DENIES Johnson's

  request for an acquittal on Count One and the related robbery enhancement.

        Finally, Johnson also contends–albeit in summary fashion–that there was insufficient

  evidence to convict him of aiding and abetting under 18 U.S.C. § 924(c) for the use of a

  firearm during and in relation to a crime of violence. To sustain a conviction under section

  924(c), the government must prove “that the defendant, as the accomplice, associated and

  participated in the use of the firearm in connection with the underlying . . . crime.” United

  States v. Franklin, 415 F.3d 537, 554–55 (6th Cir. 2005) (quotations omitted). "The

  government can meet that burden by showing that the defendant both knew that the

  principal was armed and acted with the intent to assist or influence the commission of the

  underlying predicate act.” United States v. Gardner, 488 F.3d 700, 712 (6th Cir. 2007).

  Here, it was reasonable for the jury to conclude that by supplying a fellow Bounty Hunter

  with a gun for the explicit purpose of committing a "lick", Johnson intended to assist or


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     Johnson also kept close tabs on Jamare Rucker while Rucker was on the run following
  a driveway robbery and carjacking at CVS. (Gov't Exs. EJ_CELL_14-19, 28-31).

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  influence the commission of a robbery. (Gov't Ex. EJ_FB_23). Accordingly, the Court

  likewise DENIES Johnson's motion for acquittal with respect to Count Six.

                  c.    Defendant Mario Garnes

       Defendant Mario Garnes was convicted of RICO conspiracy under Count One and

  acquitted of the robbery enhancement. The crux of his Rule 29 argument is that "the

  evidence presented at trial failed to show [him] receiving any type of benefit from his

  alleged participation with the Bounty Hunters." (Garnes Br. 6). Whether Garnes benefitted

  from his association with the Bounty Hunter enterprise is of no consequence; the evidence

  established beyond a reasonable a doubt that he engaged in a pattern of racketeering

  activity during his time in the gang.

       As Garnes' Facebook account made clear, he was "[h]unter all day"- and, more

  specifically, "one of two aktive Yg's [i]n Detroit under Iah [Rio] and Big Ev . . . . " (Gov't Ex.

  MG_FB_9). According to a depth chart recovered from Garnes' basement, he ranked just

  below Jefferson and Johnson in terms of gang seniority (Gov't Ex. 43F, 43J), and he

  frequently challenged individuals who claimed "hunna status" on the internet without

  providing proper credentials. (Gov't Ex. MG_FB_10-11). In fact, after engaging in a

  lengthy dialogue with someone he initially accused of "lookin lyke a false flagga" on

  Facebook, he proceeded to school them on the importance of Bounty Hunter

  nomenclature, noting that "[i]t's tha only thing that separates US from tha wanabes []."

  (Gov't Ex. MG_FB_8-9).        Much like Johnson and Jefferson, Garnes' daily life was

  consumed by the affairs of the enterprise.

       In the same way, Garnes' pattern of racketeering activity–based on the distribution of

  controlled substances–was merely an extension of his role in the Bounty Hunters. Indeed,

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  his Facebook account was riddled with examples of drug-dealing as early as 2010–

  expressing interest in being a "middle man" for a Bounty Hunter member who had "bows

  of the kush on deck" (Gov't Ex. MG_FB_16) and informing Jefferson that he "grabbed tha

  two bags" and "was gone bring you back ten." (Gov't Ex. MG_FB_18). In addition to the

  evidence tied directly to other Bounty Hunter members, the Government produced a

  number of text messages establishing that Garnes was frequently distributing drugs to "Ko-

  Worker Jamez and "Kortez". (Gov't Exs. MG_Cell_3-8). Finally, in October 2013, during

  the execution of a search warrant at Garnes' residence, the ATF uncovered a cache of

  evidence corroborating his role in the gang's drug distribution efforts, including: 19

  marijuana plants, 145 grams of salable marijuana, two digital scales, a list of marijuana

  prices, packaging material, and several articles of clothing, a bandana, and a necklace

  bearing the flagship colors of the Bounty Hunter enterprise. (Gov't Exs. 44J, 38G, 38K,

  38O, 38KK, 38MM, 38OO, 38QQ). Considered together, it was reasonable for the jury to

  infer that Garnes was a principal player in a drug distribution scheme linked to the Bounty

  Hunters. See Lawson, 535 F.3d at 445

         Accordingly, the Court DENIES Garnes' Rule 29 motion for acquittal under Count One

  of the Indictment.

         C. Conclusion

         For the above-stated reasons, Defendants have failed to satisfy their Rule 29 burden

  in support of acquittal. The Court now turns to Defendants’ Rule 33 motions for a new trial.


  III.   Rule 33 Motions for a New Trial




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       Defendants next argue–in the alternative–that they are entitled to a new trial pursuant

  to Rule 33 of the Federal Rules of Criminal Procedure. The crux of Defendants’ legal

  challenges in this context fall into two categories. First, Johnson argues that the Court erred

  by admitting certain co-conspirator statements and physical evidence at trial. Second,

  Jefferson contends that the Court "erroneously instructed the jury regarding the findings it

  was required to make to find him guilty" of the robbery enhancement. (Jefferson Br. 22).

  In addition to these specific challenges, Garnes renews the same argument the Court

  previously addressed under the Rule 29 framework; namely, that the evidence was

  insufficient to establish the essential elements of RICO conspiracy. As noted below, the

  Court disposes of this argument in summary fashion.

       A. Standard of Review

       A motion for a new trial is governed by Rule 33 of the Federal Rules of Criminal

  Procedure. That Rule provides that “[u]pon the defendant's motion, [a district] court may

  vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R.

  Crim. P. 33(a). “The rule does not define interest of justice and the courts have had little

  success in trying to generalize its meaning.” United States v. Munoz, 605 F.3d 359, 373

  (6th Cir. 2010) (internal quotation marks and citation omitted). It is, however, “widely agreed

  that Rule 33's ‘interest of justice’ standard allows the grant of a new trial where substantial

  legal error has occurred.” Id. This would include “reversible error or violation of the

  defendant's substantial rights.” Id. at 374.

       Garnes also seeks a new trial on the basis that the jury’s verdict is against the weight

  of the evidence. As the Sixth Circuit recently observed, “[i]n deciding Rule 33 motions

  based on the manifest weight of the evidence, . . . a district judge may sit as a thirteenth

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  juror and consider the evidence to ensure that there is no miscarriage of justice.” Id. at 373

  n. 9. “Generally, such motions are granted only in the extraordinary circumstances where

  the evidence preponderates heavily against the verdict.” United States v. Montgomery, 358

  F. App'x 622, 628 (6th Cir. 2009) (internal quotation marks and citations omitted).

       B. Analysis

           1.    Garnes' Argument Challenging the Sufficiency of the Evidence Fares
                 No Better Under Rule 33

       As mentioned, Garnes attempts to reassert his sufficiency argument in the context of

  a Rule 33 challenge. This is unavailing for a number of reasons. First, the Court rejects the

  notion that his conviction represents one of those extraordinary circumstances where the

  evidence preponderates heavily against the verdict. To the contrary, the Court has already

  addressed and rejected Garnes' argument that the evidence at trial was not only sufficient

  to sustain his convictions, it weighed heavily in support of the verdict of guilt under Count

  One. Moreover, Garnes fails to identify any specific reason why, when viewed under the

  framework set forth in Rule 33, the evidence should be viewed any differently.

       Accordingly, the Court rejects this challenge for the same reasons previously

  articulated. The Court now considers Defendants’ arguments that substantial legal or

  reversible errors warrant a new trial.



           2.    Defendants Are Not Entitled to a New Trial Based on Claims of Legal
                 or Reversible Error

                 a.    The Co-conspirator Statements Identified by Johnson were
                       Properly Admitted into Evidence




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       Johnson maintains that he is entitled to a new trial on the basis that the Court erred

  by allowing certain co-conspirator statements into evidence under Federal Rule of Evidence

  801(d)(2)(E). This argument fails for the same reason it did at trial, namely; to the extent

  that any of the identified statements were offered for the truth of the matter asserted, the

  Government clearly satisfied its burden under Rule 801.

       Under Rule 801(d)(2)(E), a co-conspirator's statement made “during and in

  furtherance of the conspiracy” is “not hearsay.” The Government may therefore use it at

  trial against any of the co-conspirators to prove the truth of the matter asserted. Id. The

  Sixth Circuit has explained that “if it is more likely than not that the declarant and the

  defendant were members of a conspiracy when the . . . statement was made, and that the

  statement was in furtherance of the conspiracy, the [statement] is admissible.” United

  States v. Enright, 579 F.2d 980, 986 (6th Cir. 1978) (citation omitted). To admit the

  statements under Rule 801, the Government must prove by a preponderance of the

  evidence that “(1) a conspiracy existed, (2) that the defendant against whom the

  [statement] is offered was a member of the conspiracy, and (3) that the hearsay statement

  was made in the course and in furtherance of the conspiracy.” United States v. Vinson, 606

  F.2d 149, 152 (6th Cir. 1979).

       Even assuming, arugendo, that the statements identified by Johnson were introduced

  for the truth of the matter asserted–which is far from clear–they easily pass muster under

  Rule 801(d)(2)(E). Indeed, there is no question that the Government has proven beyond

  a reasonable doubt that each Defendant was a leader in a racketeering conspiracy known

  as the Bounty Hunter Bloods. With respect to the third Vinson factor, Johnson makes no

  attempt to substantiate how the statements he has identified–pertaining to the CVS murder,

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  Oak Park robbery, and various other crimes specifically related to the Bounty Hunter

  enterprise–were not "intended to promote conspiratorial objectives." United States v.

  Zertuche, 565 F. App'x 377, 384 (6th Cir. 2014). And for good reason; the "in furtherance"

  element captures a broad array of communication, including "statements identifying other

  conspirators and their roles in the conspiracy, statements to inform other conspirators of

  the activities or status of the conspiracy, and statements as to the source or purchaser of

  controlled substances." Id. at 385. The statements identified by Johnson so clearly fit this

  description that the Court finds no utility in revisiting its decision on this score. See (Mot.

  J. Acquittal Hr’g Trial Tr. Vol. 17 at 16-23).

                 b.     The Live Rounds and Shell Casings from Johnson's Apartment
                        were Relevant to Counts One and Six

       In a last ditch attempt to secure a new trial, Johnson argues that the Court erred by

  admitting the live rounds and shell casings found at his apartment in evidence because

  they "weren't matched to any weapon recovered, or used in the commission of any" crime.

  (Johnson Br. 22). But the definition of "relevant evidence" is much broader than Johnson's

  argument presupposes. Relevancy under the Federal Rules of Evidence is "extremely

  liberal." Douglass v. Eaton Corp., 956 F.2d 1339, 1344 (6th Cir. 1992). " '[E]vidence having

  any tendency to make the existence of any fact that is of consequence to the determination

  of the action more probable or less probable than it would be without the evidence’ is

  relevant." Robinson v. Runyon, 149 F.3d 507, 512 (6th Cir. 1998) (quoting Fed. R. Evid.

  401). And there is no question that the live rounds and shell casings were circumstantial

  evidence that Johnson possessed a gun in violation of 18 U.S.C. § 924(c) (Count Six).

  Moreover, as the Government points out, this evidence also tends to support his guilt on


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  the RICO conspiracy charge "where leaders routinely bought, stored, and supplied guns

  using pot money." (Gov. Resp. 23). Nor is the Court persuaded that this evidence triggers

  Rule 404(b). "Rule 404(b) is not implicated when the other crimes or wrongs evidence is

  part of a continuing pattern of illegal activity." United States v. Barnes, 49 F.3d 1144, 1149

  (6th Cir. 1995).

       For those reasons, the Court DENIES Johnson's Rule 33 motion seeking a new trial.

                 c.    The Statutory Enhancement Instruction Complied with Apprendi
                       and its Progeny

       Finally, Jefferson argues that he is entitled to a new trial on the basis that the Court

  "erroneously instructed the jury regarding the allegations in the notice of enhanced

  sentencing." (Jefferson Reply at 5). Under the Notice of Acts with Enhanced Sentencing

  provision related to Count One, the Government alleged that Defendants "conspired to

  commit acts involving robbery and, in the process possessed a dangerous weapon . . . ."

  (Indictment at 27). As discussed, the statutory enhancement increased Defendants

  maximum sentence from 20 years to life in prison. According to Jefferson, "[t]o establish

  this aspect of the Notice, the Government was required to prove, beyond a reasonable

  doubt, that [he] specifically intended to commit or help commit an armed robbery."

  (Jefferson Br. 23). Such a finding was necessary, Jefferson argues, to comply with the

  requirements of Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435

  (2000) and its progeny. The Court disagrees.

       In Apprendi, the Supreme Court held that “any fact that increases the penalty for a

  crime beyond the prescribed statutory maximum must be submitted to a jury, and proved

  beyond a reasonable doubt.” Id. at 490. While 18 U.S.C. § 1963(a) increases a defendant's


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  statutory maximum for engaging in a particular racketeering act, it does not, as Jefferson

  contends, fundamentally change the RICO conspiracy statute. On the contrary, the

  statutory enhancement under § 1963(a) specifically refers back to "section 1962" and

  applies only where the underlying RICO violation "is based on a racketeering activity for

  which the maximum penalty includes life imprisonment." Id. (emphasis added). There is

  no dispute that "racketeering activity" includes armed robbery, 18 U.S.C. § 1961(1), which

  carries a maximum penalty of life imprisonment under Michigan law. Mich. Comp. Laws

  § 750.529. In other words, the Notice of Enhanced Sentencing merely required the

  Government to prove that the defendant conspired to commit a qualifying racketeering act-

  i.e. murder or robbery. In this way, it added an additional element to the Government's

  burden of proof. And because it is an element, it "must be submitted to a jury, and proved

  beyond a reasonable doubt." Apprendi, 530 U.S. at 490.

       Here, the Court complied with Apprendi by explicitly instructing the jury that if they

  found Jefferson guilty of RICO conspiracy, they "must specify whether he agreed and

  intended that at least one other conspirator would commit a racketeering act of robbery. In

  making this finding, please use the definition of robbery that I gave you previously." (Trial

  Tr. Vol. 18 at 38-39). The verdict form likewise reflected the Government's additional

  burden in this regard. (Verdict Form, Dkt. No. 367)

       This conclusion is further supported by the Seventh Circuit's decision in United States

  v. Benabe, 654 F.3d 753 (7th Cir. 2011). There, the defendant argued that the district court

  erred by giving a Pinkerton instruction in the penalty phase of RICO trial. Id. at 777. On

  review, the court aptly reasoned as follows:



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             once the jury found the defendants guilty of the RICO conspiracy, the
             maximum penalties they each faced depended on whether the involvement
             of each in the conspiracy included responsibility for murders or drug crimes
             serious enough to authorize a life sentence. Each defendant could be held
             responsible for the various predicate acts charged, either as a direct
             participant, as an aider-and-abetter, or under Pinkerton. In the penalty phase,
             the Pinkerton instruction was appropriate.

  Id. at 777-78 (emphasis added). Similarly here, once the jury found Jefferson guilty of

  RICO conspiracy, all that remained was a determination of whether he engaged in a

  qualifying enhancement- in this case, robbery or murder. Upon answering that question in

  the affirmative, the jury triggered the statutory enhancement provision. If the general

  Pinkerton instruction satisfied Apprendi in this regard, the Court is convinced that its

  instruction did too.7

            Accordingly, Jefferson's Rule 33 motion for a new trial is DENIED.



  IV.       Conclusion

            For the above-stated reasons, Defendants’ Rule 29 and Rule 33 motions are hereby

  DENIED.



            SO ORDERED.




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       Jefferson further asserts that the Court's instruction was "inconsistent with the Sixth
  Circuit's opinion in United States v. Nagi, 541 Fed. App'x 556, 576 (6th Cir. 2013), vacated
  on other grounds, 134 S.Ct. 2288 (2014) (Jefferson Reply at 5-6). But Nagi is
  distinguishable for a number of reasons; chief among them, defendant Lenoard Moore was
  sentenced to life in prison without a specific finding by the jury that he participated in a
  qualified racketeering act. Here, by contrast, the verdict form required the jury to find that
  Jefferson agreed and intended "that at least one other conspirator would commit a
  racketeering act of robbery[.]" (Verdict Form, Dkt. No. 367). This distinction is critical.

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                      s/Nancy G. Edmunds
                      Nancy G. Edmunds
                      United States District Judge

  Dated: January 28, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on January 28, 2016, by electronic and/or ordinary mail.

                      s/Carol J. Bethel
                      Case Manager




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